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            EXHIBIT A
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0123ÿ563ÿ789787ÿ ?$%?@&ÿÿA()&B*+&+&,2%-&ÿCBÿ.)&/+/ÿD(0&*10*)2-0+ÿÿ3456ÿ789:ÿ+0+;1*0<-2ÿ=0*10*)2-0+ÿ>
012 11ÿÿ98ÿ99ÿ4&Eÿ70*FGÿ456ÿ789:ÿ@HH@I
3ÿ3ÿ8ÿ8ÿ8ÿ98ÿ8O(JCA AÿIKÿ(&//ÿ1%0+&ÿ%0/L&*MGÿ01&*)ÿ,/)MM&Mÿ)+LÿN),+&2M
                           P9A$ÿQA5ÿI;@R;SH@STÿP4ÿ(8UU59(5ÿI;@R;SH@S
1                   (JCAAÿ@VKÿ(%)*NMGÿ+)N&/WGÿ=%)*NMÿ<0*ÿX&E&/*Wÿ)+Lÿ=%)*NMÿ<0*ÿF&Wÿ=%)-+MTÿ/)1&/ÿ1-+M
!"#ÿ012 1ÿ O(JCA       P9A$ÿQA5ÿI;SH;SH@STÿP4ÿ(8UU59(5ÿI;SH;SH@S
                                 Aÿ@?KÿJD,,),&ÿ2),M
                                   OP9A$ÿQA5ÿ@H;RH;SH@RTÿP4ÿ(8UU59(5ÿ@H;RH;SH@R
                                   (JCAAÿSHKÿY&*M0+)/ÿ=0N1)=2ÿN-**0*
                                   OP9A$ÿQA5ÿI;@Z;SH@STÿP4ÿ(8UU59(5ÿI;@Z;SH@S
                                   (JCAAS@KP+MD/)2&LE)2&*[022/&MM0/L&N12WGN&2)/E)2&*[022/&MM0/L&N12WG=0)M2&*M+02
                                   0<ÿ1)1&*ÿ0*ÿ2&\2-/&GÿL*-+F-+,ÿ</)MFMGÿM%02ÿ,/)MM&MGÿND,Mÿ)+Lÿ[0\&Mÿ<0*ÿN-+2ÿ=)+L-&M
                                   OP9A$ÿQA5ÿ];@;SHH^TÿP4ÿ(8UU59(5ÿ];@;SHH^
                                   (JCAAÿS?Kÿ_0/<ÿ[)//M
                                   OP9A$ÿQA5ÿI;@H;SH@STÿP4ÿ(8UU59(5ÿI;@H;SH@S
                                   $.5UC9:(84APA$A8OA$C4`C9`(.C9C($59A6P$.8Q$(JCPU $8C47
                                   YC9$P(QJC9ÿO84$ÿA$7J5GÿAPa5ÿ89ÿ(8J89
                                   86459ÿ8OÿQbAbÿ95_bÿ48bÿSR^?SVVGÿ@?@?V^]GÿSZHZIRR
                                   A59bÿ48bÿ??;]RIG]H?GÿOPJ5`ÿ@H;HS;SH@I
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0123ÿ563ÿ789 8           &'(ÿ*+,-(./(ÿ0+11ÿ*2,32,+4/2-ÿÿ5678ÿ9:;<ÿ-2-=3,2>/4ÿ?2,32,+4/2-ÿ@ÿÿ
                         AABÿC(D(-4'ÿED(-F(ÿÿ
01211ÿ3ÿ98ÿ99   6(Gÿ92,HIÿ678ÿ9:;<ÿBJJBK
3ÿ3ÿ8ÿ8ÿ        *LECCÿKMÿN2G-12+O+P1(ÿQ2>4G+,(ÿ+331/?+4/2-Qÿ>2,ÿQ4,(+R/-.ÿ2>ÿ+FO/2IÿD/O(2Iÿ+-Oÿ
11ÿ !             +FO/2D/QF+1ÿR+4(,/+1Iÿ-+R(1SIÿRFQ/?+1Iÿ-+,,+4/D(IÿO2?FR(-4+,Sÿ+-Oÿ+,4/Q4/?ÿ,(?2,O(Oÿ
                         +FO/2D/QF+1ÿ3(,>2,R+-?(QÿD/+ÿ+ÿ3+/OÿQFPQ?,/34/2-ÿD/O(2ÿ2-=O(R+-OÿQ(,D/?(
"1#!                TU;C&ÿVC7ÿBW=A=WJWBXÿU6ÿ*:YY7;*7ÿBW=A=WJWB
$%ÿ0121       *LECCÿZAMÿC4,(+R/-.ÿ2>ÿ+FO/2IÿD/O(2Iÿ+-Oÿ+FO/2D/QF+1ÿR+4(,/+1ÿD/+ÿ4'(ÿU-4(,-(4Iÿ
                         -+R(1SIÿO(1/D(,Sÿ2>ÿRFQ/?+1Iÿ-+,,+4/D(IÿO2?FR(-4+,Sÿ+-Oÿ+,4/Q4/?ÿ,(?2,O(Oÿ+FO/2D/QF+1ÿ
                         3(,>2,R+-?(QÿD/+ÿ+ÿ3+/OÿQFPQ?,/34/2-ÿD/O(2ÿ2-=O(R+-OÿQ(,D/?(
                         TU;C&ÿVC7ÿBW=A=WJWBXÿU6ÿ*:YY7;*7ÿBW=A=WJWB
                         *LECCÿ[BMÿ\,2D/Q/2-ÿ2>ÿ-2-=O2G-12+O+P1(ÿRFQ/?+1Iÿ-+,,+4/D(IÿO2?FR(-4+,Sÿ+-Oÿ+,4/Q4/?ÿ
                         ,(?2,O(Oÿ+FO/2D/QF+1ÿ3(,>2,R+-?(QÿD/+ÿ+ÿ3+/OÿQFPQ?,/34/2-ÿD/O(2ÿ2-=O(R+-OÿQ(,D/?(
                         TU;C&ÿVC7ÿBW=A=WJWBXÿU6ÿ*:YY7;*7ÿBW=A=WJWB
                         &07ÿYE;<ÿ*:6CUC&Cÿ:TÿC&E6NE;Nÿ*0E;E*&7;Cÿ8U&0:V&ÿ*LEUYÿ&:ÿ
                         E69ÿ\E;&U*VLE;ÿT:6&ÿC&9L7IÿCU]7ÿ:;ÿ*:L:;
                         :867;ÿ:TÿV^C^ÿ;7_^ÿ6:^ÿWZ`AW[[IÿaJ[ababIÿB`KKK`W
                         C7;^ÿ6:^ÿKb=B`bIBabIÿTUL7NÿBW=Ja=WJWB
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Reg. No. 6,804,867                 The Carnegie Hall Corporation (NEW YORK non-profit corporation )
                                   881 Seventh Avenue
Registered Jul. 26, 2022           New York, NEW YORK 10019
Int. Cl.: 9, 10, 14, 16, 18, 20,   CLASS 9: Cell phone holders, opera glasses and magnets; sound recordings, namely,
21, 25, 28, 41                     pre-recorded compact discs featuring music; video recordings, namely, pre-recorded
                                   DVD's featuring music; prerecorded phonograph records, compact discs featuring
Service Mark                       music; educational products for children, namely, pre-recorded audio and video
                                   cassettes, video discs, optical discs for transmitting and reproducing text, sound and/or
Trademark                          images, interactive CD-ROMs and recorded and downloadable computer software in the
                                   field of music, featuring directories, histories, and other information related to musical
Principal Register                 events, products, and persons

                                   FIRST USE 12-16-2021; IN COMMERCE 12-26-2021

                                   CLASS 10: Fashion face masks being sanitary masks for protection against viral
                                   infection

                                   FIRST USE 12-16-2021; IN COMMERCE 12-16-2021

                                   CLASS 14: Charms and lapel pins for jewelry

                                   FIRST USE 12-16-2021; IN COMMERCE 12-16-2021

                                   CLASS 16: Printed matter, namely, posters made of paper and paper bags;
                                   paperweights; books about music; printed coloring books; graphic art reproductions;
                                   printed greeting cards; printed note pads; bookmarks; pencils; pens; printed postcards;
                                   printed sheet music; educational products featuring coloring and activity books, flash
                                   cards, stickers, workbooks, activity and informational kits, all featuring and relating to
                                   musical events, products, and people; paper banners; series of printed fiction and non-
                                   fiction books featuring information related to musical events, products, and people;
                                   printed instructional and teaching materials composed of text and/or pictorial
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                   representations all in the field of music and related to musical events, products, and
                   people

                   FIRST USE 12-16-2021; IN COMMERCE 12-16-2021

                   CLASS 18: Luggage tags; carry-all bags; tote bags; wallets; umbrellas; billfolds, key
                   cases

                   FIRST USE 12-16-2021; IN COMMERCE 12-16-2021

                   CLASS 20: Personal compact mirrors

                   FIRST USE 12-16-2021; IN COMMERCE 12-16-2021

                   CLASS 21: Reusable and insulated water bottles and metal water bottles sold empty;
                   coasters not of paper or textile, flasks, shot glasses, mugs and boxes for mint candies
                   sold empty

                   FIRST USE 12-16-2021; IN COMMERCE 12-16-2021

                   CLASS 25: T-shirts, shirts; hats; caps; jackets; sweaters; scarves; ties; suspenders; socks

                   FIRST USE 12-16-2021; IN COMMERCE 12-16-2021

                   CLASS 28: Golf balls; three-dimensional puzzles; stuffed toys; Christmas tree
                   ornaments; board games; music box toys; card games; plush toys for children made of
                   felt; dolls; play figures; wind-up toys; jigsaw puzzles; manipulative puzzles; musical
                   toys; paper dolls

                   FIRST USE 12-16-2021; IN COMMERCE 12-16-2021

                   CLASS 41: Entertainment, namely, live music concerts; educational services, namely,
                   conducting classes in the field of music; organizing and conducting musical programs,
                   namely, auditions, training and tour performances for young musicians who perform
                   together as a symphony orchestra; concert and performance hall rental services;
                   theatrical ticket agency services; recording studio services; organizing and conducting
                   musical concerts, orchestral concerts, dance performances, fashion shows, and
                   competitions and award ceremonies in the field of music; Entertainment services in the
                   nature of the production of shows, radio programs, film and video tape programs;
                   providing instruction services, classes, lecture, and seminars in the field of music;
                   Entertainment and education services, namely, a multimedia program series featuring
                   orchestra, opera, jazz, folk music, great composers, period styles of music and
                   instrumentals, together with appropriate commentary, text, or animated graphic images
                   distributed via Internet and to intranets

                   FIRST USE 6-8-2021; IN COMMERCE 6-8-2021

                   The mark consists of the letters "C" and "H" inside of a circular shape.

                   SER. NO. 90-468,685, FILED 01-15-2021




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